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                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF ARKANSAS
                            PINE BLUFF DIVISION

DAVID LEE TIDWELL,                                                           PLAINTIFF
ADC #141699

v.                          CASE NO. 5:19-CV-00353 BSM

ESTELLA BLAND, et al.                                                     DEFENDANTS

                                         ORDER

       After careful review of the record, United States Magistrate Judge J. Thomas Ray’s

recommended disposition [Doc. Nos. 23] is adopted. The motion for a temporary restraining

order [Doc. No. 16] is construed as a motion for a preliminary injunction and must be served

on defendants for a response. The motion for a default judgment [Doc. No. 21] is denied

without prejudice. An in forma pauperis appeal would not be taken in good faith. See 28

U.S.C. § 1915(a)(3).

       IT IS SO ORDERED this 14th day of July, 2020.


                                                   ________________________________
                                                   UNITED STATES DISTRICT JUDGE
